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     JOHN F. GARLAND #117554
 1   Attorney at Law
     1713 Tulare Street, Suite 221
 2
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant
 5   JASON LEE
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,           )       Case No. 1: 05-CR-00204 AWI
                                         )
10
                  Plaintiff,             )       ORDER FOR EARLY
11    v.                                 )       TERMINATION OF SUPERVISED
                                         )       RELEASE
12   JASON LEE,                          )
                                         )
13                Defendant.             )
                                         )
14
          Defendant, JASON LEE’s Motion for Early Termination of Supervised Release came
15
     on regularly for hearing before the Honorable Anthony W. Ishii, Senior United States District
16
     Judge on March 31, 2014.
17

            After consideration of the motion and arguments of counsel, the Court agrees that there is
18

19   no need for continued supervision of Jason Lee. The Court hereby grants the defendant’s Motion

20   For Early Termination of Supervised Release.
21          IT IS HEREBY ORDERED that the 60-month term of Supervised Release imposed on
22
     JASON LEE on July 6, 2006 is terminated.
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24
     IT IS SO ORDERED.
25

     Dated: March 31, 2014
26
                                                SENIOR DISTRICT JUDGE
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     Case 1:05-cr-00204-AWI Document 304 Filed 03/31/14 Page 2 of 2



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